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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK

          LINK MOTION INC.,

                              Plaintiff,                   Index No.: __________

                        -against-

          DLA PIPER LLP (US), and CARYN G.                 Summons
          SCHECHTMAN,

                              Defendants.



          TO THE ABOVE-NAMED DEFENDANTS:

                YOU ARE HEREBY SUMMONED to answer the complaint in this action

          and serve a copy of your answer, or if the complaint is not served with this summons,

          to serve a notice of appearance, on Plaintiff’s attorney within twenty (20) days after

          the service of this summons (not counting the day of service itself), or within thirty

          (30) days after service is complete if this summons is not personally delivered to you

          within the State of New York; and in case of your failure to appear or answer,

          judgment will be taken against you by default for the relief demanded in the

          complaint.

          Dated: New York, New York              FELICELLO LAW P.C.
                September 12, 2022
                                                 By:    /s/ Michael James Maloney
                                                        Michael James Maloney
                                                        Rosanne E. Felicello
                                                        Kristie M. Blase
                                                 366 Madison Avenue, 3rd Fl.
                                                 New York, NY 10017
                                                 (212) 584-7806
                                                 mmaloney@felicellolaw.com




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                                              Attorneys for Plaintiff Link Motion Inc.




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK

          LINK MOTION INC.,

                               Plaintiff,                  Index No.: __________

                        -against-

          DLA PIPER LLP (US), and CARYN G.                 COMPLAINT
          SCHECHTMAN,

                               Defendants.


                Plaintiff Link Motion Inc. (“Plaintiff” or the “Company”), by its undersigned

          attorneys, brings this complaint against Defendants DLA Piper LLP (US) (“DLA”)

          and Caryn G. Schechtman (“Schechtman” and together with DLA, the “Defendants”)

          and alleges as follows.

                                      NATURE OF THE ACTION

                1.     This is an action for legal malpractice. Defendants represented the

          Company in a shareholder derivative action captioned Baliga v. Link Motion Inc., et

          al., Case No. 1:18-cv-11642 (S.D.N.Y.) (the “Derivative Action”), filed in the U.S.

          District Court for the Southern District of New York in December 2018.

                2.     Despite there being good grounds to do so, Defendants failed to oppose

          an application by the plaintiff in the Derivative Action, Wayne Baliga (“Baliga”), for

          a temporary restraining order, preliminary injunction, and appointment of Robert W.

          Seiden as receiver for the Company (the foregoing remedies are referred to as the

          “Provisional Equitable Relief”). Defendants failed to even request that Baliga or




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          Mr. Seiden post security for the Provisional Equitable Relief despite the fact that

          such security is required by Rule 65(c) of the Federal Rules of Civil Procedure.

                3.     Defendants’ failures constitute legal malpractice because Defendants

          knew or should have known that the Company had meritorious defenses against

          Baliga’s application for Provisional Equitable Relief but failed to assert them.

                4.     Defendants knew that Baliga was not a registered shareholder and

          lacked standing to assert common law claims derivatively on behalf of the Company.

          Defendants also knew or should have known that Baliga’s derivative complaint (the

          “Derivative Complaint”) failed to state all of the elements of a securities fraud claim

          under Section 10(b) of the Securities and Exchange Act of 1934 and suffered from

          other defects. Defendants did not inform the Company – their client – that Baliga

          lacked standing or that the Company had meritorious defenses to and arguments

          against the motion for Provisional Equitable Relief.

                5.     By failing to adequately advise the Company, to oppose the application

          for Provisional Equitable Relief, and to demand that Baliga or Mr. Seiden post a bond

          as security for the extraordinary relief requested by Baliga, Defendants failed to

          exercise the ordinary reasonable skill and knowledge commonly possessed by a

          member of the legal profession and caused the Company to sustain actual and

          ascertainable damages.

                6.     But for Defendants’ negligence, the Company would not have suffered

          damages.




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                                               PARTIES

                7.     Plaintiff Link Motion, Inc. is a limited company organized and existing

          under the laws of the Cayman Islands. The Company’s registered office address is c/o

          Maples Corporate Services Limited, PO Box 309, Ugland House, Grand Cayman KY1-

          1104, Cayman Islands. The Company was incorporated in the Cayman Islands in

          2007. Its principal office and management are located in Beijing, China.

                8.     On information and belief, Defendant DLA is a limited liability

          partnership organized under the laws of the State of Maryland and authorized to

          conduct business in the State of New York. On information and belief, DLA maintains

          offices in New York at 1251 Avenue of the Americas, 27th Floor, New York, NY 10020.

                9.     On information and belief, Defendant Schechtman is a natural person

          residing in New York or otherwise maintaining a legal office in New York at 1251

          Avenue of the Americas, 27th Floor, New York, NY 10020. On information and belief,

          Defendant Schechtman is an attorney authorized to practice law in the State of New

          York and is associated with DLA.

                                   JURISIDCTION AND VENUE

                10.    This Court has personal jurisdiction over each of the Defendants

          pursuant to CPLR 301 as they are domiciled or conduct business in New York County,

          pursuant to CPLR 302 because the cause of action asserted herein arises directly from

          Defendants’ tortious conduct that occurred in New York State and this County, and

          pursuant to CPLR 302 because Defendants have sufficient minimum contacts with

          New York State.




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                11.     Venue is proper in this County pursuant to CPLR 503(a) because

          Defendants’ principal place of business is in New York County.

                                     FACTUAL BACKGROUND

                                 Defendants Knew the Identities of
                              the Company’s Registered Shareholders

                12.     In 2018, the Company engaged Defendant DLA to represent the

          Company in connection with the issuance of Class B shares to an investor. The scope

          of DLA’s representation was “general corporate advice as well as in connection with

          an issuance of Class B Shares.”

                13.     On or about July 19, 2018, the Class B shares were issued to the

          investor. Once the shares were issued, the Company’s registry of shareholders was

          updated to reflect the investor as a registered shareholder. As the Company’s legal

          advisors on the transaction, Defendants completed this task or advised regarding its

          completion.

                14.     During the course of Defendants’ work on the Class B share issuance,

          Defendants knew or should have known the identities of each of the 26 registered

          shareholders of the Company. Baliga was not listed as a registered shareholder.

                         The Derivative Action Filed Against the Company

                15.     On December 13, 2018, Baliga filed the Derivative Action in the U.S.

          District Court for the Southern District of New York. Baliga was represented by The

          Seiden Law Group. Robert W. Seiden was the managing partner of The Seiden Law

          Group.




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                   16.    In the Derivative Complaint, Baliga asserted claims of corporate

          mismanagement and securities fraud derivatively on behalf of the Company. Baliga

          requested money damages, injunctive relief, and the appointment of Mr. Seiden – his

          counsel – as receiver for the Company.

                   17.    The Derivative Complaint also alleged that “Mr. Baliga is currently and

          has at all material times of this Action been a shareholder of LKM [Plaintiff].”1 The

          Derivative Complaint further alleged that “Mr. Baliga brings this action derivatively

          in the right and for the benefit of LKM [Plaintiff].”2

                   18.    Those allegations in the Derivative Complaint were false at the time

          they were made because Baliga is not, and never has been, a registered shareholder

          of the Company and does not and never had standing to assert derivative claims on

          behalf of the Company. The Defendants knew or should have known that these

          allegations were false.

                   19.    At all relevant times, Baliga, a natural person residing in Indiana, held

          the Company’s American Depositary Receipts (“ADRs”)3 that were listed on the

          NYSE.4

                   20.    It is black letter law that the internal affairs of corporate entities are

          governed by the laws of the jurisdiction of incorporation pursuant to what is known


          1   Derivative Action, Dkt. No. 1, at ¶ 4.
          2   Derivative Action, Dkt. No. 1, at ¶¶ 32, 33.
          3Each ADR represents rights to ownership of stated denominations of American
          Depositary Shares (“ADS”) of Plaintiff. ADSs are not registered shares of stock of
          Plaintiff, but rather contractual rights. An ADR is evidence of the underlying ADSs.
          4   After the Receiver was appointed, the NYSE delisted Plaintiff’s ADSs.



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          as the “internal affairs doctrine.” E.g., Howe v. Bank of New York Mellon, 783 F. Supp.

          2d 466, 475 (S.D.N.Y. 2011); Winn v. Schafer, 499 F. Supp. 2d 390, 395 (S.D.N.Y.

          2007). The internal affairs doctrine also requires that the issue of standing of any

          person to bring derivative claims be governed by the laws of the jurisdiction of

          incorporation. E.g., Howe, 783 F. Supp. 2d at 475; Winn, 499 F. Supp. 2d at 395.

                21.    Under the laws of the Cayman Islands, only registered owners of shares

          of stock in a Cayman Islands limited company have standing to bring derivative

          claims on behalf of the company (and then only in limited situations). See, e.g., Davis

          v. Scottish Re Group Ltd., 160 A.D.3d 114, 116 (1st Dep’t 2018) (“Under Cayman

          Islands law . . . derivative claims are owned and controlled by the company, not its

          shareholders,” meaning that “a shareholder is not permitted to bring a derivative

          action on behalf of that company” with “only four narrow exceptions”) (cleaned up). 5

                22.    Under the laws of the Cayman Islands, owners of securities such as

          ADSs are considered “beneficial” owners: their names are not entered on the books of

          the company as a “registered” shareholder. Beneficial owners do not have standing to

          bring derivative claims on behalf of the Cayman Island limited companies such as




          5 See also Winn v. Schafer, 499 F. Supp. 2d 390, 396 (S.D.N.Y. 2007); Shenwick v. HM
          Ruby Fund, L.P., 106 A.D.3d 638, 639 (1st Dep’t 2013); Top Jet Enterprises Ltd. v.
          Sino Jet Holdings Ltd., 2018 (1) CILR 18 (Cayman Islands Grand Court, Financial
          Services Division 2018) (available at Derivative Action Dkt. No. 17-1); Declaration of
          Katharine L. B. Pearson, dated 3 March 2020, Derivative Action, Dkt. No. 131
          (“Pearson Expert Opinion”) (citing Top Jet, 2018 (1) CILR 18, and Svanstrom and
          Nine Others v. Jonasson, 1997 CILR 192 (Cayman Islands Grand Court, Financial
          Services Division 1997)).



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          the Company.6 See, e.g., Cannonball Fund, Ltd. v. Dutchess Capital Mgmt., LLC, 33

          Mass. L. Rep. 626 (2016) (beneficial owner had no standing to sue derivatively

          Cayman Island law because he was not a registered shareholder); Matter of Renren,

          Inc. Derivative Litig. v. XXX, Index No. 653594/2018, 2022 NY Slip Op 22069, ¶ 4, 74

          Misc. 3d 1123, 1127, 165 N.Y.S.3d 681, 684-85 (N.Y. County Sup. Ct. Mar. 9, 2022)

          (only registered shareholders have standing to sue derivatively under Cayman

          Islands law).7

                  23.   At all relevant times, Baliga owned only ADSs of the Company and, as

          such, he is only a beneficial owner of shares of stock in the Company. Baliga, at all

          relevant times, lacked standing to bring common law derivative claims on behalf of

          the Company.8

                  24.   There is no exception under Cayman Islands law that would have

          allowed Baliga, as a beneficial owner, to bring a derivative claim on behalf of Plaintiff

          in December 2018.9




          6See Pearson Expert Opinion. In her declaration, Ms. Pearson, a Cayman Islands
          attorney, opines that, under the laws of the Cayman Islands, holders of ADSs do not
          have standing to act derivatively on behalf of Cayman Islands limited companies.
          7 The Cayman Islands follows the English rule, as do many other common law
          jurisdictions.
          8See Pearson Expert Opinion; see also Affirmation of Justice Ingrid Mangatal (Ret’d),
          former Justice of the Grand Court of the Cayman Islands, dated 2 March 2022, In re
          RenRen Inc. Derivative Litigation, Index No. 653594/2018, NYSCEF Doc. No. 957
          (March 3, 2022) (Justice Mangatal Opinion), at ¶22 (“under Cayman Islands law, a
          prospective shareholder plaintiff must be a current registered shareholder of the
          company in order to bring a derivative action.”).
          9   See Pearson Expert Opinion; Justice Mangatal Opinion.



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                25.   Nor did Baliga’s Derivative Complaint state causes of action for

         securities fraud under Sections 10(b) and 20 of the Securities and Exchange Act of

         1934 that were sufficient to support his request for Provisional Equitable Relief.

                                 Defendants Commit Malpractice

                26.   On or about the same day the Derivative Complaint was filed, December

         13, 2018, The Seiden Law Group (which served as counsel for Baliga) sent DLA copies

         of the filed papers, noting that The Seiden Law Group intended to file an order to

         show cause why an order should not be entered granting the requested Provisional

         Equitable Relief, including a temporary restraining order, preliminary injunction,

         and appointment of that firm’s managing partner, Mr. Seiden, as receiver for

         Plaintiff.

                27.   Baliga’s request for the Provisional Equitable Relief was grounded in his

         assertion that he was likely to prevail on the merits of his breach-of-fiduciary-duty

         claim, a common law claim that required standing under Cayman Islands law in

         order to be brought on a derivative basis.

                28.   In a December 13, 2018 email to Plaintiff’s then in-house counsel,

         Defendant Schechtman advised that DLA would “send an associate” to appear before

         the Court in connection with Baliga’s application for a temporary restraining order

         (the “TRO”) and to advise the Court that “we have received no instruction from the

         Company due to the time difference and language barriers.”

                29.   In that email, Defendants failed to advise the Company that Baliga was

         not a registered shareholder and, therefore, lacked standing to bring any common law

         derivative claims or seek entry of the temporary injunctive relief on behalf of the


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         Company. Defendants also failed to advise the Company of the other defects in the

         Derivative Complaint.

                30.   DLA appeared at the December 14, 2018 TRO hearing on behalf of

         Plaintiff.

                31.   At the time of the hearing, because of their on-going representation of

         the Company, Defendants knew or should have known that the Company had

         meritorious defenses and arguments against the request for Provisional Equitable

         Relief because Baliga was not a registered shareholder and, therefore, lacked

         standing under Rule 23.1 and Cayman Islands law to act derivatively on behalf of the

         Company.

                32.   Defendants knew or should have known that the Company had

         meritorious defenses and arguments against the request for Provisional Equitable

         Relief based on defects in Baliga’s Derivative Complaint, including the claim for

         federal securities fraud.

                33.   On information and belief, Defendants failed to present to the Court any

         any evidence (such as the shareholder registry in Defendants’ possession showing

         that Baliga lacked standing) or any argument that Baliga lacked standing to bring

         derivative claims, had failed to state valid securities fraud claims, that he should be

         required to post security, or any other arguments against the motion for Provisional

         Equitable Relief.




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               34.    With no opposition by the Defendants or any request that Baliga post a

         bond, the Court entered a TRO against the Company on December 14, 2018, in the

         form requested by Mr. Seiden and The Seiden Law Group and without any security.

               35.    DLA’s appearance in the Baliga Action establishes that DLA

         represented the Company in connection with the litigation, notwithstanding that the

         litigation was outside the scope of DLA’s prior written agreement with the Company.

               36.    By appearing in the Derivative Action and submitting papers on behalf

         of the Company, DLA undertook a new attorney-client relationship with the

         Company.

               37.    Following the December 14, 2018 TRO hearing, DLA continued to file

         papers on behalf of the Company and otherwise acted as counsel for the Company in

         connection with the Derivative Action.

               38.    Defendants had a duty to represent the Company competently in

         connection with the opposition to the motion for Provisional Equitable Relief.

               39.    On information and belief, at all relevant times Defendant Schechtman

         supervised and directed DLA’s representation of the Company in the Derivative

         Action.

                   Defendants Failed to Correct Their Mistakes and Omissions

               40.    On December 19, 2018, counsel for Baliga requested that the Company

         consent to an extension of the TRO until the court ruled on Baliga’s motion for

         Provisional Equitable Relief.

               41.    On December 19, 2018, Defendants wrote to the Chairman of the

         Company’s Board of Directors regarding the request. In the email, Defendants again


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         failed to advise the Company that Baliga was not a registered shareholder and,

         therefore, lacked standing to bring derivative claims or seek entry of a preliminary

         injunction or appointment of a receiver.10 Defendants also failed to advise the

         Company that Baliga lacked standing, had not stated a claim for securities fraud, and

         was not entitled to the Provisional Equitable Relief.

                42.   At the time Defendants sent the December 19, 2018 email, Defendants

         knew of the existence of time differences and language barriers that affected

         Defendants’ ability to communicate with and adequately advise their client, the

         Company. Defendants knew or should have known that these significant time

         differences and language barriers needed to be taken into account in order to

         competently render legal advice to the Company and in order to obtain informed

         consent.

                43.   Without competent legal advice from its counsel (Defendants DLA and

         Schectman) concerning the defenses and arguments against Baliga’s request for

         Provisional Equitable Relief, it was impossible for the Company to give informed

         consent to continue the TRO.

                44.   Defendants did not provide any substantive, non-perfunctory advice or

         analysis to the Company concerning the Derivative Complaint, the pending motion,

         what the TRO meant for the Company, what a preliminary injunction might entail,




         10 On information and belief, the content of the December 19, 2018 email was drafted
          by Defendant Schechtman.



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         or what appointment of a receiver would mean for the Company, its governance, and

         its operations.

                  45.   The Company did not give (and could not have given) informed consent

         to continuing the TRO because Defendants failed to advise the Company of its

         defenses and arguments against Baliga’s motion for Provisional Equitable Relief and

         did not advise the Company that Baliga could be required to post a bond before

         obtaining that relief.

                  46.   Even though the Company had meritorious defenses to Baliga’s request

         for Provisional Equitable Relief and appointment of a receiver, and without properly

         advising the Company or obtaining the Company’s informed consent or authorization,

         Defendant Schechtman co-signed a “Joint Letter” filed in the Derivative Action on

         December 21, 2018 stating that “[the Company] does consent” to continuing the

         TRO.11

                  47.   On January 14, 2019, the Defendants wrote an email to the Company

         regarding the pending motion by Baliga for Provisional Equitable Relief.

                  48.   In the email, Defendants again failed to advise the Company of its

         meritorious arguments against and defenses to the motion for Provisional Equitable

         Relief.12




         11   Derivative Action, Dkt. No. 7.
         12 On information and belief, the content of the January 15, 2019 email was drafted
          by Defendant Schechtman.



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                49.   In fact, Defendants provided no substantive or non-perfunctory advice

         or analysis to the Company concerning the Derivative Complaint or the pending

         motion.

                50.   Nor did Defendants give more than perfunctory advice concerning what

         a preliminary injunction might entail or what a receiver would mean for the

         Company, its governance, and its operations.

                51.   On January 19, 2019 (a Saturday), the Defendants wrote an email to the

         Company’s executives, who were in Beijing, advising that “if we do not hear back from

         you within 24 hours, DLA will assume that we have Link Motion’s consent not to

         oppose the motion.” (emphasis added).

                52.   At the time Defendants sent the January 19, 2019 email, Defendants

         knew of time difference and language barriers to the rendering of competent legal

         advice to the Company.

                53.   In the January 19, 2019 email, Defendants again failed to advise the

         Company of its meritorious defenses and arguments to motion for Provisional

         Equitable Relief.13 Defendants provided no substantive advice or analysis to the

         Company concerning the Derivative Complaint or the pending motion.

                54.   Nor did Defendants provide more than perfunctory advice concerning

         what a preliminary injunction might entail or what a receiver would mean for the

         Company, its governance, and its operations in the January 19, 2019 email.




         13 On information and belief, the content of the January 19, 2019 email was drafted
          by Defendant Schechtman.



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                  55.   The Company did not give (and could not have given) informed consent

         to entry of a preliminary injunction and appointment of a receiver.

                  56.   Given the substantial time difference and language barriers, and the

         unusual and unexpected advice from Defendants (without explanation) to not oppose

         the preliminary injunction and appointment of a receiver, it was impossible for the

         Company to respond to the January 19, 2019 email within the unreasonably short

         time period imposed by Defendants.

                  57.   Without advice from Defendants concerning the Company’s defenses

         and arguments, or the ramifications of entry of the preliminary injunctive order and

         appointment of a receiver, it was impossible for the Company to give informed

         consent.

                  58.   Defendants also failed to advise the Company of the requirement that

         applicants for preliminary injunctions and the appointment of a receiver must post

         security for such relief. Defendants failed to request, pursuant to Rule 65(c) of the

         Federal Rules of Civil Procedure, that the Court order Baliga or Mr. Seiden to post

         security sufficient to protect the Company.

                  59.   Without informed consent from the Company, Defendants signed a

         “Stipulation” filed in the Derivative Action on January 21, 2019.14 Defendants

         stipulated that the Company “does not oppose the Preliminary Injunction.”




         14   Derivative Action, Dkt. No. 22.



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                  60.   By stipulating to not oppose the preliminary injunction and imposition

         of the receiver, Defendants effectively waived the Company’s right to object to

         Baliga’s application for Provisional Equitable Relief.

                  61.   Defendants also waived the Company’s right to request adequate

         security for the Provisional Equitable Relief requested by Baliga.

                  62.   Based on Defendants’ failure to assert the Company’s meritorious

         defenses and arguments against the request for Provisional Equitable Relief,

         Defendants’ failure to request adequate security pursuant to Rule 65(c), and

         Defendants’ false representations that the Company had given informed consent to

         the relief, on February 1, 2019, the federal court entered an order appointing

         Mr. Seiden as receiver for the Company (the “Receiver”) and preliminarily enjoining

         the Company in the form requested by Baliga and Mr. Seiden.15

                  63.   One month later, Defendants moved for leave to withdraw as counsel to

         the Company. In their withdrawal papers, Defendants failed to advise the federal

         court of the Company’s defenses or that Defendants had acted without the Company’s

         informed consent.

                  64.   Defendants failed to advise the federal court that they had signed the

         stipulation on behalf of the Company based on Defendants’ assumption that the

         Company’s Board would rather give up control of the Company and waive its right to

         demand adequate security pursuant to Rule 65(c) rather than assert meritorious

         defenses and arguments to the Provisional Equitable Relief. Defendants made this


         15   Derivative Action, Dkt. No. 26.



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         assumption without informing the Company’s Board of the Company’s viable

         defenses or the Company’s right to demand that Baliga post a bond pursuant to

         Rule 65(c).

               65.     The foregoing conduct by Defendants constitutes legal malpractice.

               66.     After failing to give their client — the Company — competent legal

         advice, the Defendants dropped their client like the proverbial hot potato.

                       Defendants’ Incompetent Advice Was the But-For Cause of
                           the Company’s Actual and Ascertainable Damages

               67.     Defendants’ incompetent and untimely legal representation was the

         but-for cause of the entry of the TRO and the preliminary injunction and the

         appointment of the Receiver. If Defendants had provided the Company with

         competent and timely legal representation, the Company could have asserted

         meritorious defenses to the imposition of the Receiver. In addition, the Company

         could have insisted that Baliga and the Receiver post a bond pursuant to Rule 65(c).

               68.     By its terms, the receivership order that Defendants consented to on

         behalf of the Company gave the Receiver plenary powers, including, among others,

         the right to “assume full control of the Company”; to “tak[e] sole control over the

         Company’s assets, subsidiaries, and bank accounts”; and the “power to commence,

         continue, join in, and/or control any action, suit, arbitration or proceeding of any kind

         or nature, in the name of the Company or otherwise.” Derivative Action, Dkt. No. 31.

         The receivership order also enjoined the Company from transferring any of its assets.




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               69.      As a result, Defendants are liable for all consequential damages caused

         by the imposition of the Receiver and the lack of a bond to protect the Company’s

         interests, including the following:

                     a. Substantial litigation expenses, that the Company would not have
                        incurred but for the entry of the TRO, the preliminary injunction, and
                        appointment of the receiver;
                     b. The costs and expenses associated with the Receiver and the
                        receivership, which will be charged to the Company. These costs and
                        expenses would not have incurred but for Defendants’ legal malpractice
                        and entry of the preliminary injunction and appointment of the
                        Receiver. These costs and expenses are calculable and will be
                        determined as part of an accounting ordered by the federal court in the
                        Derivative Action. The Company would have been secured against these
                        charges had Defendants demanded a bond pursuant to Rule 65(c) of the
                        Federal Rules of Civil Procedure;
                     c. The loss of gains and other benefits as a result of interruption to
                        the Company’s divestment of its legacy business segment,
                        including loss of an expected and ascertainable gain of $180
                        million. Damages caused by the interruption of this divestment were
                        foreseeable and calculable because the Company had already
                        substantially completed performance of its planned divestment. All that
                        remained was to finally transfer ownership of the underlying asset out
                        of escrow to the purchaser, which would have been completed but for
                        entry of the TRO and preliminary injunction. Had the Company been
                        permitted to complete this transfer, the Company would have realized
                        gains from this transaction, which had already been calculated by the
                        Company; and
                     d. Dissipation of the Company’s cash and other liquid assets, which
                        the Receiver used to pay himself, his law firm, and other service



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                       providers in New York, the Cayman Islands, the Hong Kong Special
                       Administrative Region, China, and elsewhere. On information and
                       belief, these damages alone exceed $1,000,000.

                70.    These damages were foreseeable and are calculable.

                            Plaintiff’s Legal Malpractice Claim is Timely

                71.    The Company’s legal malpractice claim against Defendants is timely

         based on the New York Executive Orders which tolled the statutes of limitations for

         228 days in connection with the COVID-19 pandemic. See, e.g., 9 N.Y.C.R.R. §8.202.8

         (March 20, 2020 New York State Executive Order); 9 N.Y.C.R.R. §8.202.67

         (October 4, 2020 New York State Executive Order). The 228 days are added onto the

         end of the limitations period.

                72.    Alternatively, Plaintiff’s legal malpractice claim is timely based on

         equitable tolling, as the Receiver refused multiple times while he was in control of

         the Company to assert the Company’s legal malpractice claim against Defendants.

         On August 25, 2022, the U.S. District Court for the Southern District of New York

         ordered discharge of the Receiver (subject to an accounting) and dissolution of the

         preliminary injunction against the Company.

                                     FIRST CAUSE OF ACTION
                             (Legal malpractice against all Defendants)

                73.    The Company restates and realleges each of the foregoing paragraphs

         as if fully set forth herein.




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               74.       Defendants undertook to represent and defend the Company in the

         Derivative Action by, inter alia, appearing in and making submissions to the Court

         on behalf of the Company.

               75.       In undertaking the representation of the Company, Defendants

         represented that they possessed the ordinary and reasonable skill, diligence, and

         knowledge of New York attorneys and had the requisite skill and experience

         necessary to represent the Company adequately in connection with the defense of the

         Derivative Action and requested Provisional Equitable Relief.

               76.       Defendants breached the duty of care owed to the Company by failing to

         exercise the ordinary and reasonable skill, diligence, and knowledge of member of the

         New York Bar by errors and omissions as alleged above.

               77.       Defendants breached their duty of care and loyalty to the Company by

         signing a stipulation, without informed consent, that was contrary to the Company’s

         interests.

               78.       Defendants’ breaches of the duty of care owed to the Company, include

         but are not limited to:

                      a. failing to recognize that Baliga lacked standing to assert derivative
                         claims under Cayman Islands law;

                      b. failing to recognize the defense that Baliga lacked standing under Rule
                         23.1 of the Federal Rules of Civil Procedure;

                      c. failing to recognize that in his Derivative Complaint, Baliga failed to
                         state all the elements of causes of action under the Securities and
                         Exchange Act of 1934 and failing to recognize that Baliga’s securities




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                        claims otherwise failed to support his request for the Provisional
                        Equitable Relief;

                     d. failing to advise the Company that Baliga lacked standing to bring
                        derivative claims and failed to state causes of action for violation of the
                        federal securities laws;

                     e. failing to advise the federal court that the Company had meritorious
                        defenses against Baliga’s request for preliminary injunctive relief and
                        appointment of the receiver under Article VIII of the Federal Rules of
                        Civil Procedure;

                     f. failing to request that Baliga or Mr. Seiden post adequate security for
                        the Provisional Equitable Relief requested in the Derivative Action;

                     g. signing—without informed consent—a stipulation agreeing to not
                        oppose the preliminary injunction and imposition of a receivership and
                        without requesting security; and

                     h. withdrawing as counsel for the Company under circumstances that
                        caused prejudice to the Company.

               79.      But for Defendants’ negligent actions, errors, and omissions, a TRO

         would not have been entered, the Company would not have conceded to the entry of

         a preliminary injunction and appointment of a receiver, and the Company would have

         avoided being placed in receivership.

               80.      But for Defendants’ negligent actions, errors, and omissions, the

         Company would have had the benefit of security posted by Baliga and/or Mr. Seiden

         before entry of a preliminary injunction and appointment of a receiver.




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               81.    Specifically, had Defendants advised the Company that it had

         meritorious defenses and arguments to Baliga’s request for Provisional Equitable

         Relief, Plaintiff would have instructed Defendants to oppose that request. Defendants

         also had a professional duty to advise the federal court of the Company’s defenses

         and arguments in opposition to Baliga’s request for Provisional Equitable Relief,

         including the requirement for security.

               82.    Had Defendants raised those defenses and arguments with the court,

         the federal court would not have granted the Provisional Equitable Relief requested

         by Baliga or the federal court would have ordered Baliga to post security for that

         relief pursuant to Rule 65(c).

               83.    As a result of Defendants’ negligence and malpractice, the Company has

         suffered damages in an amount to be determined at trial, but in no event less than

         $500,000.

                                          PRAYER FOR RELIEF

               WHEREFORE, the Company demands judgment against Defendants, jointly

         and severally, and in favor of the Company as follows:

                      (a)    Awarding the Company general, special, and consequential
                             damages in amounts to be determined at trial but not less than
                             $500,000;

                      (b)    Awarding the Company punitive damages;

                      (c)    Awarding the Company pre-judgment interest, post-judgment
                             interest, and attorney’s fees;

                      (d)    Awarding the Company the costs and disbursements of this
                             action, including reasonable allowance of fees and costs for
                             attorneys, experts, and accountants; and




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                     (e)    Granting the Company such other and further relief as this
                            Court deems just and proper.

                                         JURY DEMAND

              The Company hereby demands a trial by jury as to all claims so triable.

         Dated: New York, New York             FELICELLO LAW P.C.
               September 12, 2022
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